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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-61455-CIV-SMITH

 DIVYA KHULLAR, et al.,

          Plaintiffs,
 v.

 BRIAN DEHAAN, et al.,

       Defendants.
 __________________________/

                    ORDER DENYING MOTION FOR RECONSIDERATION

          THIS MATTER is before the Court on Plaintiffs’ Amended Motion for Reconsideration of

 Order Denying Motion to Vacate Order of Dismissal Without Prejudice [DE 36].               The Court

 dismissed this case without prejudice on October 23, 2019 due to Plaintiffs’ failure to timely file

 proof of service with the Court.   (See DE 30.)    On November 8, 2019, the Court denied (see DE

 32) Plaintiffs’ motion to vacate the order of dismissal and noted that Plaintiffs still had not filed

 proof of service with the Court.     In the instant Motion, Plaintiffs indicate that six Defendants

 were served after the case was dismissed and, therefore, move for reconsideration of the order

 denying their motion to vacate.

          “[R]econsideration of a previous order is an extraordinary remedy to be employed

 sparingly.” Burger King Corp. v. Ashland Equities, Inc., 181 F. Supp. 2d 1366, 1370 (S.D. Fla.

 2002).    “The purpose of a motion for reconsideration is to correct manifest errors of law or fact

 or to present newly discovered evidence.”      Id. at 1369 (citation omitted).   “In particular, there

 are three major grounds which justify reconsideration: (1) an intervening change in controlling

 law; (2) the availability of new evidence; and (3) the need to correct clear error or prevent manifest
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 injustice.” Id.

        Plaintiffs have not provided any valid basis for the Court to grant the Motion.    This matter

 does not involve an intervening change in controlling law or the availability of new evidence.

 Similarly, there was no error and the manifest injustice prong is inapplicable here.     The case was

 dismissed because Plaintiffs failed to fulfil their obligations under the Federal Rules of Civil

 Procedure and failed to be vigilant in the prosecution of their claims – even though they were given

 extensions of time and, for good cause, had the opportunity to timely request further extension.

 Moreover, the matter was dismissed without prejudice, so Plaintiffs are not barred from bringing

 their claims at a future time.   Accordingly, it is

        ORDERED that Plaintiffs’ Amended Motion for Reconsideration [DE 36] is DENIED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 19th day of December 2019.




 cc:    counsel of record




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